             Case 2:20-mj-00612-EJY Document 13 Filed 11/05/20 Page 1 of 5




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 2   District of Nevada
     Nevada Bar Number 13644
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 3   Assistant United States Attorney
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 6   Attorneys for the United States of America

 7                                 UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,                         Case No. 2:20-mj-00612-EJY

                    Plaintiff,
10
                                                       Stipulation to Continue the Preliminary
                            v.                         Examination Date and Exclude Time Under
11
                                                       the Speedy Trial Act
     JOHN MILES ALLISON,
12                                                     (Fourth Request)
          a/k/a ALLISON MOORE,
          a/k/a KYLE DWAYNE BUTLER,
13        a/k/a ANTHONY DAVID CORAL,
          a/k/a MATTHEW PETERSON,
14        a/k/a DANIEL DEGAN,
          a/k/a JAMES GIBSON,
15        a/k/a ALEX JOSEPH,
16                  Defendant.
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            IT IS HEREBY STIPULATED AND AGREED by and between, Nicholas A.
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     Trutanich, United States Attorney, District of Nevada, Christopher Lin, Assistant United States
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     Attorney, representing the United States of America, and Robert M. Draskovich, Esq.,
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     representing Defendant John Miles Allison, that the Preliminary Examination date in the above
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     captioned case, which is currently scheduled for November 9, 2020 at 4:00 P.M., be continued to
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     a date and time convenient for the Court but not less than 30 days from the current setting. The
24
     parties also stipulate to an extension of (1) the 30-day period under 18 U.S.C. § 3161(b) in which
            Case 2:20-mj-00612-EJY Document 13 Filed 11/05/20 Page 2 of 5




 1   an indictment or information must be returned, and (2) the 90-day period under 18 U.S.C. §

 2   3164(b) for commencing trial for a detained defendant.

 3   1.     Based on the public health emergency brought about by the COVID-2019 pandemic, the

 4          required social-distancing measures as recognized in the Temporary General Orders, and

 5          the need for additional time to prepare the defense, both during the public health

 6          emergency and once the public health emergency is resolved, the parties agree to

 7          continue the currently scheduled Preliminary Examination on October 13, 2020, to a

 8          date and time convenient for the Court, but not less than 30 days from the current

 9          settings.

10   2.     This continuance is not sought for purposes of delay, but to account for the necessary

11          social-distancing in light of the COVID-2019 public health emergency, and to allow the

12          defense adequate time to prepare during the public health emergency and following its

13          resolution.

14   3.     Denial of this request could result in a miscarriage of justice, and the ends of justice

15          served by granting this request outweigh the best interests of the public and the defendant

16          in a speedy trial.

17   4.     The defendant is incarcerated but does not object to the continuance.

18   5.     This is the parties’ fourth request to continue the Preliminary Examination date.

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            Case 2:20-mj-00612-EJY Document 13 Filed 11/05/20 Page 3 of 5




 1   6.    The additional time requested by this stipulation is excludable in computing the time

 2         within which the trial must commence pursuant to the Speedy Trial Act, Title 18, United

 3         States Code, Sections 3161(h)(7)(A), and considering the factors under Title 18, United

 4         States Code, Section 3161(h)(7)(B)(i) and (iv).

 5

 6         DATED this 5th day of November, 2020.

 7

 8   NICHOLAS A. TRUTANICH
     United States Attorney
 9
     /s/ Christopher Lin                                /s/ Robert Draskovich
10   CHRSTIOPHER LIN                                    ROBERT M. DRASKOVICH
     Assistant United States Attorney                   Counsel for Defendant
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            Case 2:20-mj-00612-EJY Document 13 Filed 11/05/20 Page 4 of 5




 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2

 3   United States of America,       )                     Case No. 2:20-mj-00612-EJY
                                     )
 4                  Plaintiff,       )                     Findings and Order on Stipulation
                                     )
 5     v.                            )
                                     )
 6   JOHN MILES ALLISON,             )
          a/k/a ALLISON MOORE,       )
 7        a/k/a KYLE DWAYNE BUTLER, )
          a/k/a ANTHONY DAVID CORAL, )
 8        a/k/a MATTHEW PETERSON,    )
          a/k/a DANIEL DEGAN,        )
 9        a/k/a JAMES GIBSON,        )
          a/k/a ALEX JOSEPH,         )
10                                   )
                   Defendant.        )
11
            Based on the pending Stipulation between the defense and the government, and good
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     cause appearing therefore, the Court hereby finds that:
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     1.     To account for the necessary social-distancing in light of the COVID-2019 public health
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            emergency and to allow the defense adequate time to prepare during and following the
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            resolution of this public health emergency, the Preliminary Examination date in this case
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            should be continued.
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     2.     The parties agree to this continuance.
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     3.     The defendant is incarcerated but does not object to the continuance.
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     4.     This continuance is not sought for purposes of delay.
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     5.     Denial of this request could result in a miscarriage of justice, and the ends of justice served
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            by granting this request outweigh the best interest of the public and the defendants in a
22
            speedy trial.
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     6.     The Speedy Trial Act’s indictment clock under 18 U.S.C. § 3161(b) is extended to the
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            Preliminary Hearing date set below.
                                                       4
            Case 2:20-mj-00612-EJY Document 13 Filed 11/05/20 Page 5 of 5




 1   7.    The additional time requested by this stipulation is excludable in computing the time

 2         within which the trial must commence pursuant to the Speedy Trial Act, Title 18, United

 3         States Code, Sections 3161(h)(7)(A), and considering the factors under Title 18, United

 4         States Code, Section 3161(h)(7)(B)(i) and (iv).

 5         THEREFORE, IT IS HEREBY ORDERED that the Preliminary Examination in the

 6   above-captioned matter currently scheduled for November 9, 2020 be vacated and continued to

     December 9, 2020, at the hour of 4:00 P.M., in Courtroom 3D.
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           DATED this 5th day of November 2020.
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10                                             ____________________________________
                                               HONORABLE ELANYA J. YOUCHAH
11                                             United States Magistrate Judge
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